Case 1:15-cv-00359-NT Document 84 Filed 06/20/17 Page 1 of 1                PageID #: 1530



                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE



SHIRLEY MICHAUD                                  )
                                                 )
v.                                               ) CIVIL NO. 1:15-cv-359-NT
                                                 )
CALAIS REGIONAL HOSPITAL                         )




                                 ORDER OF DISMISSAL


       This action having been reported settled by counsel on May 16, 2017, and counsel

having failed to file the papers necessary to terminate the action as of record;

       Now therefore, pursuant to Local Rule 41.1(a) this action is DISMISSED with

prejudice and without costs, subject to the right of any party to move to reinstate the action

within one year if the settlement is not consummated.

       FOR THE COURT.

                                                  CHRISTA K. BERRY
                                                  CLERK

                                           By:

                                                  /s/ Melody Whitten
                                                  Deputy Clerk

Dated this 20th day of June, 2017.
